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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ANDRE FONSECA,

                                 Plaintiff,
                                                                   20-CV-9398 (CM)
                     -against-
                                                                  CIVIL JUDGMENT
 COMMISSIONER CYNTHIA BRANN, et al.,

                                 Defendants.

       Pursuant to the order issued January 12, 2021, dismissing the complaint,

       IT IS ORDERED, ADJUDGED AND DECREED that the complaint is dismissed without

prejudice for Plaintiff’s failure to pay the $400.00 in filing fees or submit a completed request to

proceed in forma pauperis application and prisoner authorization. See 28 U.S.C. §§ 1914, 1915.

       The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from the Court’s

judgment would not be taken in good faith.

       IT IS FURTHER ORDERED that the Clerk of Court mail a copy of this judgment to

Plaintiff and note service on the docket.

SO ORDERED.

 Dated:    January 12, 2021
           New York, New York

                                                           COLLEEN McMAHON
                                                       Chief United States District Judge
